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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT


 JOSEPH VELLALI, ET AL,


                                Plaintiffs,                Civil Action No.
  v.                                                       3:16-cv-01345 (AWT)


 YALE UNIVERSITY AND MICHAEL A. PEEL,


                                Defendants.




                           DECLARATION OF JAN TASCHNER


   I, Jan Taschner, declare as follows:


       1 . I am a named plaintiff in the above-referenced matter and current participant in the


Yale University Retirement Account Plan (the "Plan").


   2. I am seeking to represent a class of participants in the Plan in this lawsuit. The


class is described in detail in Plaintiffs' Motion for Class Certification.


   3. I understand my responsibilities to represent all the class members, and I am


willing to serve as a class representative of the class, respond to discovery, and


participate in the vigorous prosecution of this lawsuit.


   4.     I review court documents sent by my attorneys and monitor the progress of this


action.


   5.     Along with the other named Plaintiffs, I am seeking to recover the Plan's losses


caused by Defendants' unlawful selection and management of the Plan's investment


options along with the improper and excessive fees paid to the Plan's service providers.
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We are seeking to make changes to the Plan to remedy those losses and prevent future


losses.


   I declare under penalty of perjury under the laws of the United States of America that


the foregoing is true and correct.




   Executed on         //g/it


                                           Jan Taschner

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